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FINE'WRAY‘PUZEY°THOMPSON

 

 

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Case 18-12320-|eb Doc 17 Entered 05/29/18 18:40:36 Page 1 of 21

Richard F. Holley, Esq. (NV Bar No. 3077)
Email: rhollev@nevadafrrm.com

 

Ogonna M. Brown, Esq. (NV Bar No. 7589) E-frled on: May 29, 2018
Ernail: obrown@nevadaflrm.corn
HOLLEY DRIGGS WALCH

FINE WRAY PUZEY & THOMPSON
400 South Fourth Street, Third Floor
Las Vegas, Nevada 89101

Telephone: 702/791-0308
Facsirnile: 702/791-1912

Attorneysfor Weslern Alliance Bank,
as successor in interest to Centennial Bank

UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEVADA

ln re: Case No. BK-S-lS-lZBZO-LEB
Chapter ll

THE SPRINGS BUILDING, LLC,
DECLARATION OF OGONNA M.
Debtor. BROWN, ESQ. IN SUPPORT OF
OBJECTION 'I`O DEBTOR’S
APPLICATION BY DEBTOR AND
DEBTOR-IN-POSSESSION FOR
AUTHORIZATION TO RETAIN AND
EMPLOY COUNSEL UNDER GENERAL
RETAINER

Judge: Hon. Laurel E. Babero

 

 

I, Ogonna M. Brown, Esq., declare and state as follows:

l. l arn an attorney duly licensed to practice law in the State of Nevada.

2. l arn a shareholder with the law firm of Holley Driggs Walch Fine Wray Puzey &
Thompson, counsel of record for Western Alliance Bank, as successor in interest to Centennial
Bank (the “BLk”).

3. l have personal knowledge of the facts set forth herein.

4. l make this Declaration in support of the Opposition (the “Opposition”) to the
Debtor’s Application for Authorization to Retain and Ernploy Counsel Under General Retainer
[Dkt. No. 10].

5. l have personal knowledge of the facts set forth in this Declaration and if called as

a witness could and would competently testify concerning these facts.

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Case 18-12320-|eb Doc 17 Entered 05/29/18 18:40:36 Page 2 of 21

6. On August 24, 2017, the law firm of Cohen Johnson Parker Edwards, wrote a letter
to the Debtor’s principal, Ronald Robinson, regarding the Purchase and Sale Agreement executed
on August 24, 2017, by Cohen-Johnson, LLC as the buyer and The Spring Building, LLC as the
seller, for the purchase of the Property in the amount of $4.1 million, and a 8100,000 earnest money
deposit. A true and correct copy of the letter and Agreement is attached hereto as Exhibit “1”.

7. On or around October 19, 2017, the Cohen-Johnson Firm and the Debtor executed
the Assignment of Proceeds (“Assignment”), pursuant to which they agreed to turn over to the
bank the earnest money deposit in the amount of 8100,000, in the event the Debtor failed to timely
close the sale of the Property. A true and correct copy of the Assignment is attached hereto as
Exhibit “2”.

8. ln conjunction with the Extension, the Debtor likewise requested a Discounted
Payoff (the “Q_EQ”) of the loan in the amount of $4,000,000.00, which the Bank approved.

9. The Bank granted both the Extension and the DPO on the condition that the Loan
would be paid off by the Extended Maturity Date.

10. In connection with the Extension, the Debtor agreed to grant the Lender a collateral
assignment of the 8100,000 good faith deposit related to the Purchase Agreement (the “M”),
and in the event the purchase of the Property failed to timely close by the Extended Maturity Date,
the Cohen-Johnson Firm would not be entitled to the refund of the good faith deposit; such deposit
was supposed to be forwarded to the Bank to be applied to all amounts owing under the Loan
pursuant to Joint Escrow lnstmctions.

11. Among the conditions set forth in the Extension Documents that had to be met to
ensure that the DPO of $4,000,000 would not expire by the Extended Maturity Date Were the (i)
timely closing of the sale of the Property, or (ii) cancellation by Buyer or Seller (Debtor) of the
Purchase Agreement.

12. On November 13, 2017, the Bank served upon the Debtor a letter regarding its
default of the Extension because the sale of the Property under the Purchase Agreement failed to

timely close, and the Deposit was not remitted to the Bank as agreed.

 

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Case 18-12320-|eb Doc 17 Entered 05/29/18 18:40:36 Page 3 of 21

13. Despite months and months of efforts by the Bank to enforce the Assignment of the
runover of the deposit, the Debtor and the Cohen-Johnson Firm acted in concert and failed and
refused to release the 8100,000 earnest money deposit to the Bank as agreed under the Assignment

14. After nearly four (4) months of efforts by the Bank to enforce the Assignment, on
or around February 9, 2018, l reached Attorney Stan Johnson via telephone regarding the
commencement of litigation against the Cohen-Johnson Firm, the Debtor and the Title Company,
during which time Attorney Johnson admitted the following:

a. The borrower (likely through The Scotsman Trust) “loaned” the money to
Cohen-Johnson, LLC to facilitate the purchase of the Property; and

b. Mr. Johnson had known Mr. Robinson, the principal of the Debtor, for one
(1) year and is doing him a favor.

15. 1 warned Attorney Johnson that the Bank would seek fees and costs for bringing
litigation against the Cohen-Jonson Firrn, the Debtor and title, and likewise raised with Attorney
Johnson the conflict of interest he and his firm had by representing the Debtor to proceed in bad
faiths and in breach of the Assignment, and that the Cohen-Johnson Firm committed ethical
violations to aid and assist the Debtor in committing a breach, as both were in breach of the
Assignment. 1 also discussed the Debtor’s continued refusal to comply With the Bank’s requests to
turn over the lease payments derived from the Property to which the Bank was entitled pursuant
to the Assignment of Rents.

16. On February 9, 2018, Cohen-Johnson, LLC, through its manager H. Stan Johnson,
executed the lnstructions Release of Funds Prior to Close for the release of $100,000 to the Bank,
a true and correct copy of which is attached hereto as Exhibit “3”.

BANKRUPTCY

17. On April 25, 2018, Debtor filed a voluntary chapter ll petition (“Petition”) [ECF

 

No. 1].
18. On May 9, 2018, Debtor filed an Application for Authorization to Retain and
Employ Counsel Under General Retainer [ECF No. 10] to employ the law offices of Cohen

Johnson Parker Edwards as bankruptcy counsel.

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Case 18-12320-|eb Doc 17 Entered 05/29/18 18:40:36 Page 4 of 21

19. ln the Application, the Firm makes a cursory statement in the declaration of
Attorney Johnson, but does not disclose to this Court its role and participation in the purchase of
the Property and its default under the Assignment, and the fact that the funds deposited into escrow
to purchase the Property did not belong to the Cohen-Johnson Firm, but instead belonged to the
Trust, an insider of the Borrower:

Several months ago, I did submit an offer to purchase one of the
buildings formerly owned by The Springs Building, LLC located at
375 E. Warm Springs Road, Las Vegas, Nevada 89117. However,
such offer was rejected and the property proceeded to foreclosure.
[ECF No. 10, Johnson Decl., p 4, n. 1].
20. As a result, the Firrn does not meet the disinterestedness test and cannot be

employed as Debtor’s counsel.

1 declare under penalty of perjury that the foregoing is true and correct.
OWM. ATAl\/IOH, ESQ.

EXECUTED on this 2 7b day of May, 2018.

    

 

 

Case 18-12320-|eb Doc 17 Entered 05/29/18 18:40:36 Page 5 of 21

EXHIBIT “1”

Case 18-12320-|eb Doc 17 Entered 05/29/18 18:40:36 Page 6 of 21

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255 E. Warm Springs Rd., Suite 100 sjohnsm\@cohenjohnsoncom
Las Vegas, Nevada 89119 cohenjohnson.com

702-823-3500 tel
702-823-3400 fax

August 24, 2017

Via Email

Ron Robinson

319 Ea Warm Springs Rd, Suite 100
Las Vegas, Nevada 89119

Re: Purchase of 319 Ea. Warm Springs Road
Dear Ron:
Enclosed please find the execution version of the purchase agreement Ihave signed it

on behalf of the buyer. Please execute it and send back a fully executed copy. We look forward
to working with you on closing this transactionl

COHEN|JOHNSON|PARKER|EDWARDS

/<l:éa

H. Stan Johnson,
HSJ/

Case 18-12320-|eb Doc 17 Entered 05/29/18 18:40:36 Page 7 of 21

SALE AND PURCHASE AGREEMENT

THIS AGREEMENT, made and entered into by and between Springs Building LLC, 319 E. Warm
Springs Road, Suite 100, Las Vegas, Nevada 89119 hereafter called “Seller”, and Cohen-Johnson, LLC, 255 Ea.
Warm Springs Road, Suite 100, Las Vegas, Nevada 89119 and/or nominee hereafter called “Buyer”, shall
constitute a Sale and Purchase Agreement between Seller and Buyer.

WlTNESSETH THAT:

WHEREAS, Seller is the fee simple owner of a certain parcel of real property located in the County of Clark
and State of Nevada, Clark County, described asc

Tax Parcel No # 177-09-514-009, Bermuda & Warm Springs Com| Ctr, Plat Book 79 Page 65, P'I` Lot
l(“Property”); and

WHEREAS, Buyer desires to purchase Seller’s interest in above described Property upon the terms and
conditions contained herein; and

NOW, THEREFORE, in consideration of the mutual covenants and agreements contained herein, Seller and
Buyer agree as follows:

A G R E E M E N T
The purchase price of the Property shall be:
FOUR MILLION DOLLARS ($4,|00,000).

The Purchase Price shall be paid as follows: Buyer to deliver to Title Company the Sum of $100,000.00 cash
US as a non-refundable earnest money deposit to be applied toward the purchase price upon the satisfaction of
all due diligence stated herein. On or before close of Escrow, Buyer shall deposit with escrow agent the balance
of the Purchase Price in cash.

AND IT IS HEREBY FURTHER AGREED:

l.) ESCROW INSTRUCTIONS: Escrow to be opened within five (5) business days of receipt of signed
Purchase Agreement with First American Title Company, Escrow Officer: 'l`.he Escrow Agent shall prepare the
Escrow lnstructions which strictly conform with the terms and conditions of this Purchase Agreement and shall
not supersede, modify or amend any of the terms of this Agreement, and in the event of any conflict or
ambiguity between any of the terms of this Agreement and those of the Escrow lnstructions, the terms and
conditions herein shall govern and control. The Title Company shall accept the earnest money deposit and
release and deliver to Seller any deposited funds in accordance with the provisions of this Agreement ln the
event the end date for the Buyer’s Due Diligence Period and/or the Close of Escrow date falls on a weekend or
holiday, it shall automatically be extended until 5 :00 PM on the next business day.

2.) CLOS[NG COSTS: The cost of the Title Insurance Policy_. Real Property Tra.nsfer 'I` ax and Reconveyance
Fees shall be paid for by the Seller. Escrow Fees shall be split, 50% by the Buyer and 50% by the Seller. Taxes,

Page 1 of 4

Case 18-12320-|eb Doc 17 Entered 05/29/18 18:40:36 Page 8 of 21

insurance, rents and interest shall be prorated to the Close of Escrow; all other costs shall be divided according
to normal customary manner. The Seller shall pay all assessments in full.

3.) NEVADA LAW: This Agreement shall be deemed to be made under and construed in accordance with
and governed by the laws of the State of Nevada.

4.) ADDITIONAL DOCUMENTS: At or before the Close of Escrow, the parties hereto agree to execute,
acknowledge, and deliver such documents and instruments as may be reasonably necessary to carry out the full
intent and purpose of this Agreement. Buyer, at Buyer’s expense, may create a parcel map or subdivision map,
and/or apply for zoning change on the subject Property before Close of Escrow and Seller agrees to execute all
documents necessary to accomplish this.

5.) REPRESENTATIONS AND WARRANTIES OF SELLER: Seller agrees to convey at Close of Escrow to
Buyer good, marketable and insurable fee title to the Property by Grant Bargain and Sale Deed, free and clear of
all mortgages, liens, encumbrances, leases, tenancies, security interests, covenants, conditions, restrictions,
rights-of-way, easements, judgments and other matters affecting title, subject only to the Permitted Exceptions.
During the period of time that Seller has held the Property, Seller has done nothing which would affect the title
to the Property except as may be set forth in the Permitted Exceptions.

6.) [NSPECTION: Prior to the Close of Escrow, Buyer or his agents or designees shall be entitled to enter
upon the Property, during such times as Buyer is not in breach or default under this Agreement, for the purpose
of inspecting same.

7.) SUCCESSORS AND ASSIGNEES: This Agreement shall apply to, inure to the benefit of and be binding
upon and enforceable against the parties hereto and their respective successors, assigns, heirs, executors,
administrator and legal representative to the same extent as if specified at length throughout this Agreement.
Buyer shall have the unconditional right to assign its position under this Agreement, (or under the Deed of
Trust) and/or designate a nominee to take title to the Property at the Close of Escrow. Seller and Buyer are both
aware that Seller and/or Buyer may be part of a 1031 tax deferred exchange Buyer and/or Seller shall each pay
their own expenses to complete their 1031 tax deferred exchange Seller and Buyer will co-operate with each
other and sign all necessary documents

8.) BUYER’S DUE DILIGENCE PERIOD: Seller shall grant Buyer a period of 45) days after execution of
this agreement for Buyer to make its Due Diligence investigation of the Property to review and approve (A), (B)
and (C) or make whatever compromise necessary to the mutual satisfaction of both parties

¢ A.) PRELIMINARY TITLE REPORT: Escrow Agent shall deliver to Buyer within 10 days from the
opening of Escrow a current Preliminary Title Report and Title Commitment (the “Report”) on the Property
leading to the issuance of a CLTA Policy of Title lnsurance covering the Property. The Report shall show
the status of title to the Property as of the date of the Report and shall be accompanied by legible copies of
all documents referred to in the Report. If, in the reasonable judgment of Buyer, title is found to be
defective, Buyer, within said period, shall notify Seller in writing specifying the defect(s). If Seller does not
cure such defect(s) to Buyer’s reasonable satisfaction, Buyer shall have the option to terminate this
agreement in that event the herein deposit shall be delivered to the Seller

Page 2 of 4

Case 18-12320-|eb Doc 17 Entered 05/29/18 18:40:36 Page 9 of 21

¢ (B) Seller shall cooperate during Buyers due diligence investigation of the Property in order to allow Buyer
to inspect, examine, analyze at Buyers expense any or all of the following: appraisals of the Property;
surveys; engineering studies; soil tests; water and well tests; soil conditions; topographic studies;
availability and costs of providing utilities; sanitary sewers and storm sewers; flood protection;
environmental impact reports; toxicity report; Subdivision Map Act requirements; zoning and planning
regulations; proposed development of the Property and similar material as well as real Property tax
assessment records. At any time within the Due Diligence Period, Buyer may elect, at its sole discretion, to
terminate this Purchase Agreement by exercising the option to: (i) terminate the Escrow and all obligations
under the Purchase Agreement by giving written notice of cancellation to Escrow Agent within the period
specified above, in which event the Eamest Money Deposit shall be retained by Seller without any further
notice or approval by the Buyer and/or 'I`itle Company and all parties shall be released of all further
obligations under the Purchase Agreement, The parties hereto believe that the Deposit(s) is a reasonable
estimate of Seller’s damages, and Seller’s right to receive the Deposit(s) shall be at its sole and exclusive
remedy for Buyer’s failure to perform its obligations under this Agreement,

o C.) At the expiration of the due diligence period, Buyer (or its representatives) will have fully examined
and inspected the Property. Buyer will know and be satisfied with all aspects of the Property as of such date
and Buyer shall accept the Property in it’s "AS IS," "WHERE IS" condition. Buyer acknowledges that,
except as specifically set forth in this Agreement, no representations or warranties have been made or are
made and no responsibility has been or is assumed by Seller or by any member, manager, ofticer, person,
tirm, agent or representative acting or purporting to act on behalf of Seller as to the condition or repair of
the Property or the value or income potential thereof, the availability of utilities thereto, or as to any other
fact or condition which has or might affect the Property or the condition, repair, value, expense of operation
or Buyer's ability to develop the Property or any portion thereof. Buyer agrees that all understandings and
agreements heretofore made between Buyer and Seller or their respective agents or representatives are
merged in this Agreement and any annexed hereto, which alone fully and completely express their
agreement, and that this Agreement has been entered into after full investigation, without Buyer relying
upon any statement or representation by Seller unless such statement or representation is specifically
embodied in this Agreement and any Exhibits annexed hereto.

9.) CLOSE OF ESCROW: Close of Escrow with respect to the Property shall occur on or before 60 days
from the signing of the contract

10.) TIME IS OF THE ESSENCE: Time is of the Essence with this Agreement.

ll.) SEVERAB[LITY: lf any clause or provision of this Agreement is held to be illegal, invalid or
unenforceable, or the application thereof to any person or circumstance shall to any extent be illegal, invalid or
unenforceable under present or future laws effective during the term hereof or of any provisions hereof which
survive Closing, then and in any such event, it is the expressed intention of the parties hereto that the remainder
of this Agreement, or the application of such clause or provision other than to those which it is held illegal,
invalid or unenforceable, shall not be affected thereby, and each clause or provision of this Agreement and the
application thereof shall be legal, valid and enforceable to the fullest extent permitted by law.

12.) COUNTERPARTS: This Agreement may be executed in two (2) or more counterparts and each
counterpart shall be deemed an original and one and the same Agreement

Page 3 of4

Case 18-12320-|eb Doc 17 Entered 05/29/18 18:40:36 Page 10 of 21

13.) SURVlVAL: Buyers and Sellers warranties, agreements, covenants, conditions and representations set
forth in this Agreement shall survive the Closing and shall not be merged upon delivery of the Deed from Seller
to Buyer nor upon payment of the Purchase Price to Seller.

14.) POSSESSlON: Possession of the Property shall pass at Closing.

lS.) BROKER: Buyer and Seller each warrant to the other that no real estate brokers or agents have been used
or consulted in connection with the purchase and sale of Property.

16.) AGENCY DlSCLOSURE: N/A
l7.) DlSCLOSURE: N/A

18.) ACCEPTANCE: If the offer contained herein is not accepted by Seller by execution hereof and personal
delivery of this Agreement to Buyer prior to 5:00 p.m. Pacific Standard Time on or before, August 25, 2017,
then the offer of Buyer to purchase the Property shall become null and void.

19.) SIGNATURES: By the signing of this Purchase Agreement, both parties state herein that they have read
and understand the entire Purchase Agreement and agree to Purchase/Sell the above described Property under
the Terms and Conditions herein stated. This is a Legal lnstrument. lf not understood, legal, tax or other
Counsel should be consulted before signing All facsimile signatures are to be considered as originals.

20.) ENTlRE AGREEMENT: This Agreement constitutes the entire agreement between the parties and cannot
be varied except by a written agreement executed by both parties. The parties agree that there are no oral
agreements, understandings, representations or warranties, which are not expressly set forth herein.

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Date

 

 

COHEN-JOHNSON, LL

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Date

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Page 4 of 4

Case 18-12320-|eb Doc 17 Entered 05/29/18 18:40:36 Page 11 of 21

EXHIBIT “2”

Case 18-12320-|eb Doc 17 Entered 05/29/18 18:40:36 Page 12 of 21

ASSIGNMENT OF PROCEEDS

.#c/’ This ASSIGNMENT OF PROCEEDS (“Assignment”) is made and entered into as of the
day of October, 2017 (the “Effective Date”), by and between THE SPRlNGS BUILDING,
LLC, a Nevada limited liability company (“Springs Building”), THE SCOTSMAN TRUST
DATED JUNE 1, 1996, aNevada trust (the “Tiust”) and COHEN-JOHNSON, LLC (“Col:ren-
Iohnson”) (colleetively, the “Assignor”) on one hand and WESTERN ALLIANCE BANK, an
Arizona corporation and successor in interest to Bank of Nevada (“Assignee”) on the other hand.

RECITALS

WHEREAS, the Loan is evidenced by an Amended and Restated Promissory Note (Note
A), dated September 30, 2014, in the original principal amount of $4,000,000, executed by
Springs Building in favor of Assignee, and an Amended and Restated Promissory Note (Note B),
dated September 30, 2014, in the original principal amount of $1,743,655.65, executed by
Springs Building in favor of Assignee (collectively, the “Notes”).

WHEREAS, the Notes are secured by the security documents including, but not limited to,
a Deed of Trust dated December 14, 2007, recorded in the Official Records of Clark County,
Nevada (the “Clark Ofticial Records”) on December 20, 2007, as Document No. 20071220-
0005531, granting Assignee a security interest in real property located at 375 Warm Springs Road,
Las Vegas, Nevada and identified as Assessor’s Parcel Number 177-09-514-009 (the “Property”),
and as amended by Modification of Deed of` Trust and Assignment of Rents and Leases, dated
September 30, 2014, recorded in the Clark Official Records on October 16, 2014 as Instrument
No. 20141016-0002192.

WHEREAS, the Springs Building’s Loan was unconditionally guaranteed by each of the
Guarantors Robinson and Park Place pursuant to a personal guaranty executed on Decentbcr 14,
2007 (“Guaranty”).

WHEREAS, the Notes are further secured by the security documents including, but not
limited to, a Deed of Trust, Security Agreement, Assignment of Rents, and Fixture Filing dated
September 30, 2014, recorded in the Official Records of San Bernardino County, California (the
“San Bernardino Official Records”) on October 21, 2014, as Document No. 2014-0392826,
wherein the Trust granted Assignee a security interest in additional real property located at 40588
lronwood Drive, Big Bear Lalce, California 923 1 5 (the “California Property”) and a Deed of Trust,
Security Agreement, Assignment of Rents, and Fixture Filing dated September 30, 2014, recorded
in the Clark Official Records on October 16, 2014, as Document No, 20141016~0002214, granting
Assignee a security interest in real property located at 808 5th Street, Boulder City, Nevada 89005,
and identified as Assessor’s Parcel Number 186-09-610-034 (the “Boulder Property") pursuant to
the Arnendrnent to Loan Documents dated Septernber 30, 2014.

WHEREAS, the Loan matured by its own terms on August 31, 2017 (“Maturity Date”).
WHEREAS, the Springs Building entered into the Sale and Purchase Agreement dated

August 25, 2017 (the “Purchase Agreement”), as the seller, and Cohen~.lohnson as the buyer (the
“Buyer”).

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Case 18-12320-|eb Doc 17 Entered 05/29/18 18:40:36 Page 13 of 21

WHEREAS, in connection with the Purchase Agreement, on October 13, 2017, the Tnlst
caused to be deposited on behalf of the Buyer a wire deposit of $100,000.00 to First American

Title lnsurance Cornpany National Commercial Services in connection with Escrow No. NCS-
866499~HI~1LV.

WHEREAS, Springs Building is required to pay off the matured Loan for the Payoff
Arnount.

WHEREAS, Springs Buildin g is owner ofthe Property that is the subject the sale under
the Purchase Agreement. and

WHEREAS, Assignor, the Trust and Cohen~Johnson desire to assign to Assignee the
Payof`f Arnount arising from their respective rights, title and interest in and to the proceeds
resulting nom any sale of the Property by Assignor under the Purchase Agreement or to any
other party, subject to the teirns of this Assignment

NOW, THEREFORE, in consideration of the mutual promises and covenants hereinafter
set forth, Assignor, the Trust and Cohen-Iohnson on one hand, and Assignee on the other hand,
hereby agree as follows:

AGREEMENT

1. Assignment, Assignor, the Trust and Cohen-lohnson hereby absolutely,
irrevocably, and unconditionally assigns to Assignee the earnest money deposit in the amount of
$100,000.00 deposited by the Trust on behalf of the Buyer in connection With the Purchase
Agreement (“Deposit”), which Deposit is held by First American Title Insurance Company
National Commercial Seiyices in connection with Escrow No. NCS-866499-HHLV, Assignor’s
right, title, and interest in and to the Deposit to repay the Loan in accordance with the Notes to
Assignee. Assignee hereby accepts the foregoing assignment and agrees that the Deposit shall be
applied to the Loan in accordance with the Notes and any other applicable agreements between the
parties.

2. Representations and Warranties of Assignor, the Trust and Cohen-lohnson. , the
Trust and Cohen-lohnson hereby represent and Warrant to Assignee that , the Trust and Cohen-
Johnson have not pledged or promised to assign anyone other than Assignee any portion of the
Deposit under the Purchase Agreement

3. Furtlter Assurances. Assignor, the Trust and Cohen-lohnson and Assignee agree to
execute such other documents and perform such other acts as may be reasonably necessary or
proper and usual to effect this Assignment

4. Governing Law; Jurisdiction. This Assignment shall be construed under and
enforced in accordance with the laws of the State ofNevada. The parties agree that any proceeding

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Case 18-12320-|eb Doc 17 Entered 05/29/18 18:40:36 Page 14 of 21

brought with respect to the performance or enforcement of this Agreement shall be brought in a
court of competent jurisdiction in the State of Nevada.

5. Attorneys’ Fees; Costs. Upon the bringing of any action or suit by either party under
this Assignment relating to the subject matter hereof, the party in whose favor final judgment shall
be entered shall be entitled tc recover from the other party all costs and
expenses of suit including, without limitation, reasonable attorneys' fees and costs.

6. Counterparts. T his Assignment may be executed by facsimile signature and in
two or more counterparts, each of which shall constitute an original, but all ofwhich, when taken
together, shall constitute but one instrument This Assignment shall become effective when one
or more counterparts have been signed by each party hereto and delivered to each other party.

7. Severability. If any provision of this Assignment or the application thereof
becomes or is deemed by a court of competent jurisdiction or other governmental entity to be
illegal, void, or unenforceable, the remainder of this Assignment will continue in full force and
effect, and the application of such provision to other persons or circumstances Will be interpreted
so as reasonably to effect the express intent ofthe parties hereto. The parties further agree to
replace such void or unenforceable provision of this Assignment with a valid and enforceable
provision that will achievc, to the extent possible, the economic, business, and other purposes of
such void or unenforceable provision

[REMAINDER OF PAGE LEFT BLANK INTENTIONALLY]

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Case 18-12320-|eb Doc 17 Entered 05/29/18 18:40:36 Page 15 of 21

 

 

8.

Successors and Assigns. This Assignment shall inure to the benefit of, and be

binding upon the successors, executors, administrators, legal representatives, and assigns of the

parties hereto.

IN WITNESS WHEREOF, Assignor, the Trust and Cohen-Johnson and Assignee have

executed this Assignment as of the Effective Date.

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ASSIGNOR:
' ing, LLC, a Nevada
company

  
   
 
 

wet Ronald J. Rcd)inson

Its: Trustee of the Scotsman Trust under
Trust Agreement dated June l, 1996,
Managing Member

THE TRUST:

Trust dated Ju f ,

amex RonaldJ. R¢ébinsdn
Its: Trustee

1996, a

 

   

 

BUYER:
Cohen-Iohnson, LLC

By:
Narne:
Its:

 

 

 

ASSIGNEE:

Westem Alliance Bank, an Arizona
corporation, successor in interest to Bank of
Nevada

By:
Name:
Its:

 

 

 

 

 

 

Case 18-12320-|eb Doc 17 Entered 05/29/18 18:40:36 Page 16 of 21

8. Successors and Assigns. This Assignment shall lnure to the benefit of, and be
binding upon, the successors, executors, administrators, legal representatives, and assigns of the
parties hereto

IN WITNESS WHEREOF, Assignor, the Trust and Cohen~Johnson and Assignee have
executed this Assignment as of the Eft`ective Date.

ASSIGNOR:
The Springs Building, LLC, a Nevada
limited liability company

By:
Narne: Ronald J. Robinson

Its: Trustee of the Scotsman Trust under
T1ust Agreement dated June 1, 1996,
Managing Member

 

THE TRUST:
The Scotsman Trust dated lane 1,1996,a
Nevada T1 ust

By:
Name: Ronald J. Robinson
Its: Trustee

 

BUYER:

Cohen~JohnsoanC OV\J
By 11 am

 

Name:
Its: m @'n/m 511 VV`
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ASSIGNEE:

Western Alliance Banl<, an Arizona
corporation, successor in interest to Banlc of
Nevada

By:
Name:

 

 

Its:

 

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Case 18-12320-|eb Doc 17 Entered 05/29/18 18:40:36 Page 17 of 21

8. Successors and Assigns. This Assignment shall inure to the benefit of, and be
binding npon, the successors, executors, administrators, legal representatives, and assigns of the
parties hereto.

IN WITNESS WHEREOF, Assignor, the Trust and Cohen-Johnson and Assignee have
executed this Assignment as of the Effective Date.

ASSIGNOR:
The Springs Building, LLC, a Nevada
limited liability company

By:
Name: Ronald J. Robinson

Its: Trustee of the Scotsman Trust under
Trust Agreement dated June l, l996,
Managing Member

 

THE TRUST:
The Scotsman Trust dated June l, 1996, a
Nevada Trust

By:
Nanie: Ronald J. Robinson
Its: Trustee

 

BUYER:
Cohen-Iohnson, LLC

By:
Name:
Its:

 

 

 

ASSIGNEE:

Western Alliance Bank, an Arizona
corporation, successor in interest to Bank of
Nevada

fl ‘
By: /i\\i/tl@#%£§%

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Case 18-12320-|eb Doc 17 Entered 05/29/18 18:40:36 Page 18 of 21

EXHIBIT “3”

Case 18-12320-|eb Doc 17 Entered 05/29/18 18:40:36 Page 19 of 21

 

First American Title Insurance Company

National Commercial Services
2500 Paseo Verde Parkway, #120, Henderson, NV 89074
(702)855-0860 - Fax (866)289-5654

ESCROW INSTRUCTIONS
RELEASE OF FUNDS PRIOR TO CLOSE

To: First American Title Insurance Company File No.: NCS-866499-HHLV (NP)
National Commercial Services
2500 Paseo Verde Parkway, #120,

Henderson, NV 89074
Escrow Ott`icer: Nil<ki Prine Today's Date: 02/09/2018
Settlement Date: TBD

Re: 319 East Warm Springs, Las Vegas, NV 89119

You hold in the above referenced escrow the sum of $100,000.00 .

Buyer and Seller have agreed that the sum of $100,000.00 is to be released prior to the consummation and
closing of this escrow.

Buyer understands that First American Tit|e Insurance Company National Commerclal Servlces and its
employees make no warranty or representation of any kind, expressed or implied as to the ownership of, or title
to, the property described in this escrow, nor as to any encumbrances or liens thereon, nor as to the condition
and/or the ultimate outcome of this escrow nor in any manner or form as an inducement to make the above
payment. Buyer further realizes that no instruments in Buyer‘s favor have been recorded, nor Policy of Title
Insurance issued. Buyer nevertheless desires to release said funds.

THEREFORE, from funds now on deposit in this escrow, you are instructed to pay $100,000.00 to the order of:
Western A|liance Bank, an Arizona corporation and successor in interest to Bank of Nevada

Whether or not this escrow closes, you are not to be held liable or responsible for any loss or damage which
Buyer might sustain by reason of making the above payment.

Escrow Holder will not disburse until funds deposited in escrow have cleared through bank on which drawn.

Each of the undersigned states and declares that he/she has read the foregoing instructions and understands,
accepts and approves them and does hereby acknowledge receipt of a copy of these instructions

Page lof 2

Case 18-12320-|eb Doc 17 Entered 05/29/18 18:40:36 Page 20 of 21

First American Title Insurance Company National Commercial Fi|e No.: NCS-866499-HHLV (NP)
Services
2500 Paseo Verde Parkway, #120 Date: 02/09/2018

Henderson, NV 89074

The Springs Building, LLC, a Nevada limited
iiabiiiiY Company Cohen-Johnson, LLC

By:

 

Alisa M. Davis, Managing Member

 

 

By: The Scotsman Trust, Managing Member

Name: H. Stan Joh 5 n
By' Title: |Vlanager

 

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Page 2 of 2

HOLLEY~DRIGGS 'WALCH
FINE'WRAY° PUZEY° THOMPSON

 

 

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Case 18-12320-|eb Doc 17 Entered 05/29/18 18:40:36 Page 21 of 21

CERTIFICATE OF SERVICE

l hereby certify that l am an employee of Holley Driggs Walch Fine Wray Puzey &
Thompson, and that on the w day of May, 2018, l caused to be served a true and correct copy
of the DECLARATION OF OGONNA M. BROWN IN SUPPORT OF OBJECTION TO
DEBTOR’S APPLICATION BY DEBTOR AND DEBTOR-IN-POSSESSION FOR
AUTHORIZATION TO RETAIN AND EMPLOY COUNSEL UNDER GENERAL RETAINER
in the following manner:

gi (ELECTRONIC SERVICE) Under Administrative Order 02-1 (Rev. 8-31-04) of
the United States Bankruptcy Court for the District of Nevada, the above-referenced document
was electronically filed on the date hereof and served through the Notice of Electronic Filing
automatically generated by that Court’s facilities

l:] (UNITED STATES MAIL) By depositing a copy of the above-referenced
document for mailing in the United States Mail, first class postage prepaid, at Las Vegas, Nevada,
to the parties listed on the attached service list, at their last known mailing addresses, on the date
above written.

m (OVERNIGHT COURIER) By depositing a true and correct copy of the above-
referenced document for overnight delivery via Federal Express, at a collection facility maintained
for such purpose, addressed to the parties on the attached service list, at their last known delivery
address, on the date above written.

m (FACSIMILE) That I served a true and correct copy of the above-referenced
document via facsimile, to the facsimile numbers indicated, to those persons listed on the attached

service list, on the date above written.

-`

O%llfvhr

An employee of Holley Driggs Walch Fine
Wray Puzey & Thompson

 

 

